        Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 1 of 54



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

ESTATE OF RENARDO GREEN                       :
c/o Co-Personal Representatives
Brittany R. Green, Tiffany R. Green, Jayda A. :
Green, Phyllis McGowan, and Tracy L.
Naylor                                        :
Anne Arundel County, MD
                                              :
       and
                                              :
BRITTANY R. GREEN
17 Monument Street                            :   CIVIL ACTION NO. ____________
Annapolis, MD 21401
                                              :
       and
                                              :
TIFFANY R. GREEN
1145 Madison Street, Apt S-3                  :
Annapolis, MD 21403
                                              :
       and
                                              :
JAYDA A. GREEN
6419 Washington Square                        :
Glen Burnie, MD 21061
                                              :
       and
                                              :
PHYLLIS MCGOWAN
920 President Street, Apt A3                  :
Annapolis, MD 21403
                                              :
       and
                                              :
TRACY L. NAYLOR
1145 East Madison Street, Apt. A1             :
Annapolis, MD 21043,
                                              :
       Plaintiffs,
                                              :
       v.
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 2 of 54



CITY OF ANNAPOLIS (MD)                          :
City of Annapolis Office of Law
D. Michael Lyles, Esquire, City Attorney        :
160 Duke of Gloucester Street
Annapolis, MD 21401                             :
Anne Arundel County
                                                :
       and
                                                :
SERGEANT MARK COCHRAN
Individually and in his official capacity       :
Badge #3537
c/o Annapolis Police Department                 :
199 Taylor Avenue
Annapolis, MD 21401-3496                        :
Anne Arundel County
                                                :
       and
                                                :
OFFICER MATTHEW BODMER
Individually and in his official capacity       :
Badge Number Unknown
c/o Annapolis Police Department                 :
199 Taylor Avenue
Annapolis, MD 21401-3496                        :
Anne Arundel County
                                                :
       and
                                                :
OFFICER ANNA WOYTKO
Individually and in her official capacity       :
Badge #6343
c/o Annapolis Police Department                 :
199 Taylor Avenue
Annapolis, MD 21401-3496                        :
Anne Arundel County
                                                :
       and
                                                :
OFFICER IVAN SIMINYUK
Individually and in his official capacity       :
Badge Number Unknown
c/o Annapolis Police Department                 :
199 Taylor Avenue


                                            2
            Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 3 of 54



 Annapolis, MD 21401-3496                             :
 Anne Arundel County
                                                      :
         and
                                                      :
 JOHN DOES 1-5
 c/o Annapolis Fire Department                        :
 Fire Headquarters
 1790 Forest Drive                                    :
 Annapolis, MD 21401
 Anne Arundel County,                                 :

         Defendants.                                  :


                       COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiffs Estate of Renardo Green (c/o co-personal representatives Brittany R. Green,

Tiffany R. Green, Jayda A. Green, Phyllis McGowan, and Tracy L. Naylor), and Brittany R.

Green, Tiffany R. Green, Jayda A. Green, Phyllis McGowan, and Tracy L. Naylor, individually

(all hereinafter collectively, “Plaintiffs”), by and through their undersigned attorneys, hereby sue

the City of Annapolis, Sergeant Mark Cochran (in his official and personal capacities), Officer

Matthew Bodmer (in his official and personal capacities), Officer Anna Woytko (in her official

and personal capacities), Officer Ivan Siminyuk (in his official and personal capacities), and

John Does 1–5 (in their official and personal capacities) (all hereinafter collectively,

“Defendants”). In support of their causes of action, Plaintiffs state as follows:

                                        INTRODUCTION

       1.       This case concerns the foreseeable and deadly consequences of an unconstitutional,

widely condemned, yet stubbornly persistent practice: prolonged face-down restraint of men and

women in custody by police and emergency responders.




                                                  3
               Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 4 of 54



          2.       On June 1, 2021, Annapolis Police Department officers and Annapolis Fire

Department emergency responders restrained Renardo Green, a helpless, mentally disturbed man,

in “protective custody” and then strapped him on a stretcher face-down—negligently, grossly

negligently, with deliberate indifference, and with fatal consequences, in violation of Renardo

Green’s constitutional rights.

          3.       The link between face-down restraint and sudden death has been nationally known

since, at the latest, a 1995 U.S. Department of Justice bulletin that alerted law enforcement to the

dangers of this practice.1

          4.       At the time of Mr. Green’s face-down restraint and resulting death, the Maryland

Medical Protocols for Emergency Medical Services, promulgated by the Maryland Institute for

Emergency Medical Services Systems (hereinafter “MIEMSS Protocols”) directed (and still

direct) EMS responders, in all caps, as follows:

          “PATIENTS ARE NOT TO BE RESTRAINED IN A FACE-DOWN, HOBBLED,
          OR HOG-TIED POSITION.2”

          “IF POLICE HANDCUFFED THE PATIENT, JOINTLY WITH POLICE,
          REPOSITION THE PATIENT IN FACE-UP POSITION WITH HANDS
          ANTERIOR AND SECURED TO STRETCHER.3”

          5.       Defendants completely ignored these clear directives.

          6.       At the time Mr. Green was killed, the City of Annapolis had no policy that

prohibited face-down restraint or warned officers, paramedics, or first responders that face-down


1
  See U.S. Department of Justice, Positional Asphyxia—Sudden Death (June 1995), available
at https://www.ojp.gov/pdffiles/posasph.pdf.

2
 The Maryland Medical Protocols for Emergency Medical Services (2020) at 322, available at
https://www.miemss.org/home/Portals/0/Docs/Guidelines_Protocols/MD-Medical-Protocols-2020-
20200610.pdf?ver=2020-06-12-120333-457.
3
    Id.



                                                      4
               Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 5 of 54



restraint was dangerous—notwithstanding well-publicized incidents of in-custody deaths from

face-down restraint (such as the murder of George Floyd), and the aforementioned prohibition in

the MIEMSS Protocols on face-down restraint due to its risk of serious injury and death. (See

paragraphs 4–5, supra.)

          7.       It was only after this incident that the Annapolis Police Department promulgated a

revised use of force policy prohibiting the unconstitutional practice of face-down restraint. Unlike

other police departments, at the time Mr. Green was killed, the Annapolis Police Department

unconstitutionally condoned face-down restraint as a matter of custom and policy.4

          8.       The Annapolis Police Department’s revised policy, promulgated in June 2022,

reads, “Members shall not position a restrained person face-down as it may cause positional

asphyxia. In addition, placing persons on their back can cause radial nerve damage to the wrist

and forearm area. Restrained persons are to be seated or placed on their side.”5

          9.       This language mirrors language in the current version of the Baltimore City Police

Department’s Use of Force Policy (Policy 1115). The Baltimore City Police Department

promulgated the current version of the policy well over a year before Mr. Green was killed, on

November 24, 2019.6

          10.      Before this incident, Annapolis Fire Department policies did not (and have never)

contained language similar to that now (belatedly) found in the Police Department’s use of force



4
 See Use of Force Policy (March 2021), available at
https://web.archive.org/web/20211210044717/https://www.annapolis.gov/DocumentCenter/View/19269/C3--Use-
of-Force-March-2021-PDF. This outdated version of the policy is still available on the City’s website. See
https://www.annapolis.gov/DocumentCenter/View/19269/C3--Use-of-Force-March-2021-PDF.
5
    See https://www.annapolis.gov/DocumentCenter/View/22007/C-03-Use-Of-Force-June-2022-PDF.
6
  See https://www.marylandattorneygeneral.gov/Pages/IID/Reports/111822_IID_Report.pdf (page 85 of 95 of pdf
file); https://public.powerdms.com/BALTIMOREMD/documents/51042.



                                                      5
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 6 of 54



policy. Unlike other fire departments, at the time Mr. Green was killed, the Annapolis Fire

Department unconstitutionally condoned face-down restraint as a matter of custom and policy.

        11.      The Annapolis Fire Department did not train its personnel to avoid face-down

restraint or promulgate a policy prohibiting face-down restraint until November 1, 2022. This

policy (Policy 7.23, “Patient Care”) still does not mention face-down restraint, but simply requires

paramedics to follow the MIEMSS Protocols.7

        12.      Defendants’ unconstitutional disregard of the MIEMSS Protocols, and the City of

Annapolis’s tolerance of face-down restraint and failure to promulgate and enforce appropriate

policies and procedures prohibiting face-down restraint, caused Renardo Green to suffer

cardiopulmonary arrest on June 1, 2021 as a result of being restrained in a face-down position,

leading to his eventual death on June 4, 2021.

        13.      The Maryland Medical Examiner determined Mr. Green’s death was a homicide

caused by “prone restraint cardiac arrest.”

                                    JURISDICTION AND VENUE

        14.      This action is brought under the Constitution of the United States, the Maryland

Declaration of Rights, and Maryland tort law.

        15.      This case arises from the wrongful death by homicide of Renardo Green

(hereinafter “Mr. Green”) on June 4, 2021. Mr. Green’s death was a direct result of the unlawful

acts and mistreatment perpetrated against him by Defendants on June 1, 2021.

        16.      The unlawful practices complained of below constituted excessive force under the

4th Amendment to the United States Constitution. These practices also constituted deliberate



7
 See Policy 7.23, Patient Care, available at https://www.annapolis.gov/DocumentCenter/View/16634/723-Patient-
Care-Response-and-Transportation-PDF.



                                                      6
          Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 7 of 54



indifference to Mr. Green’s constitutional rights to bodily integrity and his serious medical needs

in violation of Mr. Green’s right to life and liberty under the substantive due process component

of the Fourteenth Amendment to the United States Constitution. They amounted to a state-created

danger that killed Mr. Green.

        17.    The effect of the practices complained of below was to deprive Mr. Green of his

civil rights, which ultimately and foreseeably killed him.

        18.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, 42 U.S.C.

§ 1983, and 28 U.S.C. § 1367.

        19.    Venue is proper in this Court under 28 U.S.C. § 1391(b).

        20.    Although not required, on April 19, 2022, a certified letter giving notice of

Plaintiffs’ claims was sent to the Annapolis City Attorney, D. Michael Lyles, pursuant to the Local

Government Tort Claims Act (Md. Code. Ann., Cts. & Jud. Proc. §§ 5-301 et. seq.).

                                            PARTIES

        21.    Plaintiffs Brittany R. Green, Tiffany R. Green, Jayda A. Green, and Phyllis

McGowan are citizens of the State of Maryland and are domiciled in Anne Arundel County. These

Plaintiffs are Renardo Green’s children.

        22.    Plaintiff Tracy L. Naylor (hereinafter “Plaintiff Naylor”) is a citizen of the State of

Maryland and is domiciled in Anne Arundel County. Plaintiff Naylor was married to Renardo

Green from 2009 until his untimely death by homicide on June 1, 2021 while in the custody of the

Annapolis Police Department and Annapolis Fire Department.

        23.    Plaintiffs Brittany R. Green, Tiffany R. Green, Jayda A. Green, Phyllis McGowan,

and Tracy L. Naylor are hereinafter referred to in this Complaint collectively as the “Individual

Plaintiffs”.




                                                 7
          Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 8 of 54



       24.     Plaintiff Estate of Renardo Green has been duly established in Anne Arundel

County under the laws of the State of Maryland, with the Individual Plaintiffs as Co-Personal

Representatives of the Estate.

       25.     Defendant City of Annapolis (hereinafter “City”) is a municipality duly

incorporated under the laws of the State of Maryland, with its leadership functions under the

control and management of the Mayor and Council of the City of Annapolis.

       26.     At all relevant times, Defendant City has maintained and controlled the City of

Annapolis Police Department as a duly constituted police agency headquartered at 199 Taylor

Avenue, Annapolis MD 21401, with powers granted pursuant to the laws of the State of Maryland,

the City of Annapolis, and other applicable federal, state, and local laws.

       27.     The City of Annapolis Police Department (hereinafter “Annapolis Police

Department” or “APD”), through its command structure, was and is responsible for establishing

customs, policies and standing orders controlling the actions of its police officers—including

Defendants Sergeant Mark Cochran, Officer Matthew Bodmer, Officer Ivan Siminyuk, and Officer

Anna Woytko (hereinafter collectively “Officer Defendants”). The APD is also responsible for

providing for their training and supervision regarding the appropriate use of force and restraints

and the appropriate treatment of individuals taken into protective custody.

       28.     At all relevant times, Defendant City employed Officer Defendants as duly

authorized law enforcement officers in the Annapolis Police Department, who all acted at all

relevant times within the course and scope of their employment and under color of state law.

       29.     At all relevant times, Defendant City has maintained and controlled the Annapolis

Fire Department (hereinafter “Annapolis Fire Department” or “AFD”) as a duly constituted fire

department headquartered at 1790 Forest Drive, Annapolis MD 21401, with power granted




                                                 8
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 9 of 54



pursuant to the laws of the State of Maryland, the City of Annapolis, and other applicable federal,

state, and local laws.

        30.     At all relevant times, AFD included an Emergency Medical Services (hereinafter

“EMS”) Division, with the self-described purpose “to provide emergency and non-emergent health

care, rescue and related services to the citizens and visitors of the City of Annapolis.”8

        31.     At all relevant times, Defendant City employed paramedics, emergency responders,

and other health care workers within AFD’s EMS Division, including Defendants John Doe 1–5

(hereinafter “Doe Defendants”), to carry out its mission of providing health care, rescue, and

related services to the people of Annapolis.

        32.      AFD was and is responsible for establishing customs and policies controlling the

actions of its personnel, including John Does 1–5, as well as providing for their training and

supervision regarding the appropriate care and treatment of individuals and patients in its custody

or care.

        33.     At all relevant times, Doe Defendants were paramedics or other health care-related

personnel employed by the City of Annapolis, acting within the course and scope of their

employment. They are hereinafter sometimes referred to as “paramedics” or “emergency

responders.”

        34.     On June 1, 2021, Doe Defendants responded to Plaintiff Naylor’s 911 call to Mr.

Green’s address and took Mr. Green into custody for purposes of providing care and transport. The

aforementioned Doe Defendants have not yet been identified, despite Plaintiffs’ repeated efforts

to do so through requests under the Maryland Public Information Act. When Doe Defendants true



8
  See Emergency Medical Services, Annapolis.gov, https://www.annapolis.gov/355/Emergency-Medical-Services
(last visited Jan. 24, 2022).



                                                     9
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 10 of 54



names and capacities are ascertained through discovery, Plaintiffs will amend this Complaint.

Plaintiffs are informed and believe and therefore allege that each of these Doe Defendants were

acting within the course and scope of their employment with the City and under color of state law

when they mistreated Mr. Green in a manner that caused his death.

         35.      At all relevant times, a health care provider-patient relationship existed between

Mr. Green, Doe Defendants, and Defendant City, including, but not limited to, the AFD, and other

agents, ostensible agents, servants, and employees of the Defendants.

         36.      At all relevant times, each and every Defendant acted under color of state law.

                                              FACTUAL CLAIMS

         37.      Plaintiffs incorporate paragraphs 1–36 above as if fully set forth herein.

         38.      On June 1, 2021, Plaintiff Naylor called 911 and requested that they respond to her

and Mr. Green’s residence out of concern for his safety.

         39.      At the time, Mr. Green, a 51-year-old African American man, was suffering from

a disturbed and impaired mental state. He was bleeding profusely from self-inflicted lacerations

caused by broken glass and ceramics.

         40.      At no time was Mr. Green violent or threatening toward Plaintiff Naylor or any

other individual.

         41.      Officers Woytko, Bodmer, and Siminyuk each wrote an account of what occurred

on June 1, 2021. Officer Woytko’s report is dated June 1, 2021; Officer Bodmer’s is dated June 3,

2021; and Officer Siminyuk’s is dated June 3, 2021.

         42.      The officers’ reports all indicate that the encounter with Mr. Green was recorded

by body-worn camera.9


9
  Defendant City has refused to disclose the body-worn camera footage pertaining to this incident to Plaintiffs. In
response to Plaintiffs’ valid Public Information Act Request, Defendant City justified its refusal by stating that, “it


                                                           10
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 11 of 54



         43.      Officer Woytko’s report indicates that on June 1, 2021, at approximately 2:15 AM,

she responded to Plaintiff Naylor’s 911 call for assistance due to Mr. Green’s erratic behavior. She

reported that upon her arrival, Plaintiff Naylor’s brother was holding Mr. Green down on the

ground. She also noted “blood on the counter tops, floor, walls, cabinets and on the clothing of”

Mr. Green and that Mr. Green “was actively bleeding from his right hand at the time.”

         44.      Officer Bodmer’s report notes that he responded to the scene with Officer Woytko.

He also documented radioing for Officer Siminyuk because he anticipated needing assistance

putting Mr. Green into protective custody.

         45.      Officer Woytko noted Mr. Green was “unaware of his own emotions, bodily

movements, and was posing a great danger to himself and others with his behavior.” She noted

that “[a]t this time, Officer Bodmer, Officer Siminyuk, and I placed the male subject into protective

custody for an emergency evaluation.”

         46.      The officers reportedly subdued Mr. Green by holding his ankles down and using

two sets of handcuffs to place his hands behind his back.

         47.      Officer Woytko documented that Green “was then placed on his side in handcuffs

on the floor of the kitchen until AFD arrived.”




would interfere with a valid and proper law enforcement proceeding, and further prejudice an investigation.” While
denying disclosure to Plaintiffs on putative public policy grounds, Defendant City has shown the footage privately to
the media and members of city government in an apparent effort to portray itself in a favorable light. See, e.g., Alex
Mann and Lilly Price, Death of Annapolis man who suffered cardiac arrest in custody of city fire, police is ruled
homicide by medical examiner, Capital Gazette (Dec. 17, 2021), https://tinyurl.com/4u6rvs42.




                                                         11
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 12 of 54



        48.     Officer Bodmer wrote in a supplemental narrative, “Off. Siminyuk and I then rolled

Mr. Green onto his side so that the left side of his body was pointing to the ceiling. We rolled Mr.

Green onto his side so that we could keep his airway open.” (Emphasis added.)

        49.     At an unknown time thereafter, Officer Defendants and/or Doe Defendants rolled

Mr. Green into a face-down (prone) position.

        50.     Per Officer Woytko, AFD personnel arrived “moments later” and attended to Mr.

Green’s injured hand.

        51.     Sergeant Cochran, whom Officer Siminyuk identified as the shift supervisor, then

arrived with shackles to restrain Mr. Green’s legs.

        52.     Upon being handcuffed, shackled, or otherwise restrained by Officer and/or Doe

Defendants, Mr. Green was in custody and was unable to move freely (including being unable to

roll out of a face-down position) or otherwise ensure his own safety. By placing Mr. Green in their

“protective custody” without his consent, Doe & Officer Defendants and Defendant City all

undertook duties toward and entered a special relationship with Mr. Green by limiting his freedom

to act on his own behalf, whereby they assumed an affirmative duty to protect his safety and

general well-being as he was wholly dependent on the City and its agents to provide him services

and care at all times relevant to this Complaint.

        53.     Officer Woytko spoke with Plaintiff Naylor regarding Mr. Green. She reported that

Plaintiff Naylor said that Mr. Green had been “acting erratically (yelling and banging his hand on

the walls/other objects).” Officer Woytko reported that Plaintiff Naylor requested Mr. Green be

kept at a hospital for at least 72 hours.

        54.     Officer Siminyuk documented that “Mr. Green was acting very irrational by

repeatedly yelling same phrases and uncontrollably kicking and swinging his arms around.” [sic].




                                                    12
          Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 13 of 54



Per Officer Siminyuk, “[w]hile I was trying to communicate with Mr. Green, he would not provide

me with any verbal response. Mr. Green would not say anything else but, ‘Yeah bitch!’”

        55.      Officer Siminyuk also stated, “[D]uring the entire process, Mr. Green was informed

numerous times that he was not in trouble and that Officer Bodmer, Officer Woytko and I were

only trying to help him.”

        56.      Officer Woytko reported the following when she finished speaking to Plaintiff

Naylor:

        I turned around and observed AFD medics were moving the male subject onto a
        stretcher, using a sheet, to be taken out of the residence. The male subject was
        laying on his stomach on the floor of the kitchen still handcuffed behind the back.
        The male subject was then taken out of the residence by AFD. He was strapped
        down on a stretcher on his stomach, and handcuffed behind the back.

(Emphasis added.)
        57.      Officer Bodmer also documented Mr. Green being strapped face-down on the

stretcher:

        At approximately 0234 hours, at the direction of AFD, I assisted them with putting
        a white sheet under Mr. Green’ stomach so that we could lift him and put him onto
        a portable stretcher. . . . At 0236 hours I along with members of AFD picked Mr.
        Green up using the white sheet and carried him over to where there was a stretcher
        in the living room. Mr. Green was lying on his stomach on the stretcher and still
        yelling “yeah bitch.” AFD then took control of Mr. Green, strapping him into the
        portable stretcher so he did not fall off of it.

(Emphasis added.)

        58.      Thus, per Officer Bodmer’s and Officer Woytko’s accounts, Mr. Green was

restrained in a face-down position by 2:34 AM at the latest, before being strapped face-down to

the stretcher.




                                                 13
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 14 of 54



       59.     Per Officer Bodmer’s account, at approximately 2:37 AM, “AFD began to transport

Mr. Green out of the apartment and out of the building. I advised Off. Woytko that I would ride

with AFD. At approximately 0238 hours Off. Woytko advised that she was putting Mr. Green

under an emergency petition.”

       60.     Per Officer Siminyuk’s report, Officer Siminyuk cleared the scene at approximately

2:38 AM.

       61.     Officer Bodmer continued to assist Mr. Green’s transport in the face-down position.

After his exchange with Officer Woytko, he noted, “I then stood by while AFD loaded Mr. Green

onto a rolling stretcher that was just outside of the building. I then handed one of the paramedics

one of the straps for the stretcher and they buckled it and I stepped away from the stretcher.”

       62.     Officer Bodmer observed that “[a]t approximately 0240 hours Mr. Green was still

yelling and was lifting his chest off of the stretcher while AFD was wheeling him around to the

back of the ambulance.” (emphasis added).

       63.     At 2:41 AM, Officer Bodmer reported that Mr. Green was loaded into the

ambulance. He reported that at this time “Mr. Green was no longer yelling and one of the

paramedics asked Mr. Green to turn his head to the side.” Mr. Green did not respond, so the

paramedic turned his head.

       64.     At 2:42 AM, “one of the paramedics advised [Bodmer] that Mr. Green’s nose was

clear and his airway was open.”

       65.     At 2:43 AM, Officer Bodmer reported that he “opened the rear door to the

ambulance. Sgt. Cochran asked me if I was good and I told him yes.”

       66.     At 2:44 AM, AFD personnel asked Officer Bodmer for another set of handcuffs

and Sergeant Cochran provided them.




                                                14
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 15 of 54



       67.       At 2:45 AM, per Officer Bodmer, “AFD repositioned Mr. Green onto his back.”

Multiple sets of handcuffs were reportedly detached and reattached, with the end result that Mr.

Green was laid on his back with handcuffs attached to the stretcher.

       68.       Per Officer Bodmer, “[a]t approximately 0248 hours members of AFD began

administering CPR to Mr. Green. Mr. Green was transported to AAMC where AAMC medical

staff continued rendering medical aid.” Officer Bodmer’s report ends there.

       69.       Officer Woytko reported she went to her police vehicle to follow the ambulance

transporting Mr. Green to Anne Arundel Medical Center. She reported that Sergeant Cochran told

her to obtain written statements from witnesses inside the house and to preserve the scene for

detectives. Officer Woytko took statements from Plaintiff Naylor and her brother, who resided at

the home. A detective and crime scene photographer also arrived moments later.

       70.       Officer Woytko eventually cleared the scene “and met Officer Bodmer at AAMC

and completed an emergency evaluation for the male subject. AAMC took custody of the male

subject. Mobile Crisis was notified of the emergency evaluation.”

       71.       None of these reports ever mentioned Mr. Green’s cardiac arrest or injuries, apart

from the injury to his hand and administration of CPR.

       72.       Mr. Green had to be resuscitated several times at AAMC. He never regained

consciousness.

       73.       Plaintiff Naylor learned at approximately 8:00 AM on June 1, 2021 that AAMC

needed to intubate Mr. Green and that he had likely suffered brain death.

       74.       Because Mr. Green suffered irreversible brain damage due to cardiopulmonary

failure that rendered him clinically brain dead with no meaningful hope of recovery, his family

chose to discontinue life support. Mr. Green died on June 4, 2021.




                                                 15
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 16 of 54



          75.    Upon information and belief, including, but not limited to the fact that any

reasonable police officer and emergency responder would have adhered to the abovementioned

MIEMSS Protocols if they had been adequately trained and/or supervised on those protocols,

Defendant City failed, with deliberate indifference to the rights of its citizens, including Mr. Green,

to adequately train and supervise the Officer and Doe Defendants to not restrain persons who were

experiencing a medical emergency face-down on their stomachs or face-up on their backs.

Specifically, Defendant City failed to ensure and monitor that its emergency responders knew and

understood this prohibition, committed it to memory, understood the medical and legal

significance of this prohibition, and were able to effectively discern when and how to abide by the

policy.

          76.    Defendant City had actual or constructive knowledge, prior to June 1, 2021, that

adequate training of its emergency responders on the constitutional parameters of restraining

people experiencing medical emergencies was essential to avoid constitutional violations. Despite

Defendant City’s actual or constructive knowledge of the obvious necessity of the aforesaid

training, Defendant City failed to adequately train Officer and Doe Defendants accordingly, and

failed to do so with deliberate indifference to the rights of its citizens, including Mr. Green.

          77.    Mr. Green’s death was a direct and proximate result of the negligent, grossly

negligent, reckless, deliberately indifferent, and unconstitutional conduct of Defendants and their

agents. Neither Mr. Green nor Plaintiffs caused or contributed to this outcome.

          78.    In a June 2021 statement, City Mayor Gavin Buckley said he got to know Mr. Green

while he worked for the City and described him as having “a big heart and an infectious laugh.”10


10
  Lilly Price, Annapolis man Renardo “Hot Dog” Green dies after suffering cardiac arrest on Memorial Day,
Capital Gazette (June 14, 2021), https://www.capitalgazette.com/news/ac-cn-annapolis-man-dies-green-20210614-
szguzhk6vnayjoszqwsoz3hfby-story.html.



                                                     16
            Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 17 of 54



           79.   On September 20, 2021, the Maryland Office of the Chief Medical Examiner

(hereinafter “Medical Examiner”) reportedly ruled Mr. Green’s death a homicide caused by “prone

restraint cardiac arrest.”11

           80.   Defendant City was aware of the Medical Examiner’s findings regarding the cause

and mechanism of Mr. Green’s death for at least one month before Defendant City disclosed the

Medical Examiner’s findings to the public or Mr. Green’s family.12

           81.   Despite the clear prohibition against face-down restraint in the MIEMSS Protocols,

Defendant City’s Mayor Gavin Buckley publicly described the circumstances of Mr. Green’s

homicide as “pretty textbook to me on how you handle someone humanely and sensitively.”13 The

City, however, has never released body-worn camera footage of the incident.

           82.   At all relevant times, Mr. Green, as a citizen of the United States and the State of

Maryland, had clearly established rights under the Fourth and Fourteenth Amendments to the

United States Constitution and Article 24 of the Maryland Declaration of Rights to be free from

excessive force and from the deprivation of his life, liberty, or property, without due process of

law, at the hands of state actors. He also had, at all relevant times, clearly established rights to

personal security, liberty, dignity, and bodily integrity. These rights were clearly established prior

to June 1, 2021, and any reasonable police officer and/or emergency responder knew or should




11
  Lilly Price, Annapolis authorities learned more than a month ago of homicide ruling for a man who died after
being in police, fire custody, Baltimore Sun (Dec. 20, 2021), https://www.baltimoresun.com/maryland/anne-
arundel/ac-cn-annapolis-custody-homicide-renardo-green-20211220-n65uuikkarhsde7l7lik2ral7i-story.html.
12
     Id.

13
   See Alex Mann and Lilly Price, Death of Annapolis man who suffered cardiac arrest in custody of city fire, police
is ruled homicide by medical examiner, Capital Gazette (Dec. 17, 2021),
https://www.capitalgazette.com/maryland/annapolis/ac-cn-annapolis-in-custody-death-20211217-
u4mvbta7tndoppflpd3seyoxmm-story.html.



                                                        17
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 18 of 54



have known of these rights as of that date. No government interest or burden outweighed Mr.

Green’s aforementioned enumerated and/or clearly established rights.

       83.      Under Maryland law, public entities, including Defendant City, are directed to pay

any tort judgment for which their employees are liable within the scope of their employment.

       84.      At all relevant times, the Officer and Doe Defendants were employees of Defendant

City acting within the scope of their employment and in accordance with accepted custom and

usage when they committed the misconduct described herein.

       85.      Accordingly, Defendant City is required by State law to indemnify any and all of

the individual Defendants against whom judgment is entered in this case.

       86.      All claims and counts below are timely filed within three years after Mr. Green’s

death, pursuant to Md. Code Ann., Cts. & Jud. Proc. § 3-904(g). Although not required given the

nature of this action, Defendant City received timely notice of this claim.

                                              CLAIMS

                                             COUNT I

                           Deprivation of Constitutional Rights
42 U.S.C. § 1983 – Excessive Force & Violation of Right to Due Process & Bodily Integrity
                       Pursuant to U.S. Const. Amends. IV & XIV

                                         Survival Action
             (Plaintiff Estate of Renardo Green Against Doe & Officer Defendants)

       87.      Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       88.      At all relevant times, Mr. Green, a citizen of the United States and State of

Maryland, had clearly established rights under the Fourth and Fourteenth Amendments to be free

from excessive force and from the deprivation of his life, liberty, or property, without due process

of law, at the hands of state actors. He also had, at all relevant times, clearly established rights to


                                                  18
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 19 of 54



personal security, liberty, dignity, and bodily integrity. These rights were clearly established prior

to June 1, 2021, and any reasonable police officer and/or emergency responder knew or should

have known of these rights as of that date.

       89.     Section 1983 of Title 42, United States Code, protects individuals from violations

of rights guaranteed by the United. States Constitution or laws of the United States that were

committed by persons acting under color of state authority.

       90.     Defendant City is a local municipality organized under the laws of the State of

Maryland. At all relevant times, Doe & Officer Defendants were acting as servants, agents,

ostensible agents, and/or employees of Defendant City and therefore were acting under color of

state law.

       91.     Doe & Officer Defendants unlawfully deprived Mr. Green of his rights to life,

liberty, personal security, dignity, and bodily integrity, and the right to be free from physical abuse

and excessive force at the hands of state actors, when they, inter alia, restrained Mr. Green in a

face-down position to a stretcher, in contravention of clear and longstanding statewide policy

described in the MIEMSS Protocols.

       92.     Doe & Officer Defendants undertook these egregious acts and omissions despite

actual or constructive knowledge that their acts and omissions would (and ultimately did)

foreseeably create and/or increase the risk of harm to Mr. Green, thereby causing him serious

injury and death.

       93.     There was no legitimate governmental justification for Doe & Officer Defendants’

conduct; rather, these Defendants’ actions were intentional, willful, wanton, reckless, or

deliberately indifferent, and constituted an abuse of official power.




                                                  19
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 20 of 54



       94.     By placing Mr. Green in their “protective custody” without his consent, Doe &

Officer Defendants and Defendant City undertook duties toward and entered a special relationship

with Mr. Green by limiting his freedom to act on his own behalf, whereby they assumed an

affirmative duty to protect his safety and general well-being as he was wholly dependent on the

City and its agents to provide him services and care at all times relevant to this Complaint.

       95.     Doe & Officer Defendants committed these actions with deliberate indifference to

Mr. Green’s rights to due process of law, bodily integrity, and freedom from excessive force, and

did so with reckless disregard for his enumerated rights—by intentionally, wantonly, and willfully

increasing the danger to which Mr. Green was exposed.

       96.     Doe & Officer Defendants knowingly and intentionally disregarded the real risk of

serious injury or death to Mr. Green and were recklessly, callously, and deliberately indifferent to

his constitutional rights. Doe & Officer Defendants had ample time to deliberate upon their choices

and yet acted with reckless disregard and deliberate indifference to Mr. Green’s rights. Under these

circumstances, Doe & Officer Defendants’ conduct was unconstitutionally arbitrary and further

shocks the conscience.

       97.     There was no excuse, justification, or legitimate government purpose—

pedagogical, medical, or otherwise—for Doe & Officer Defendants’ actions. Doe & Officer

Defendants acted willfully, recklessly, and with deliberate indifference.

       98.     As described herein, Doe & Officer Defendants’ actions were objectively

unreasonable and violated Mr. Green’s rights to be free from excessive force, to due process of

law, and to bodily integrity, including his right to be free from physical abuse at the hands of state

actors and his rights to personal security, liberty, and dignity.




                                                  20
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 21 of 54



       99.     Prior to June 1, 2021, Mr. Green’s constitutional rights were clearly established,

and any reasonable emergency responder or police officer knew or should have known of these

rights; thus, Officer & Doe Defendants are not entitled to qualified immunity.

       100.    Officer & Doe Defendants’ violations of Mr. Green’s constitutional rights directly

and proximately caused him injuries including but not limited to fright, mental anguish,

humiliation, disgrace, loss of dignity, conscious pain and suffering, severe physical injury, and

ultimately caused his wrongful death.

       101.    As a result of his injuries, Plaintiff Estate of Renardo Green is entitled to

compensatory, consequential, special, and punitive damages from Doe & Officer Defendants.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor against

Doe & Officer Defendants, jointly and severally, in a sum in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages,

attorneys’ fees pursuant to 42 U.S.C. § 1988, injunctive relief, any other such relief that this Court

deems just and proper, and further relief as the nature of the case may require.

                                            COUNT II

                           Deprivation of Constitutional Rights
42 U.S.C. § 1983 – Excessive Force & Violation of Right to Due Process & Bodily Integrity
                       Pursuant to U.S. Const. Amend. IV & XIV

                                    Wrongful Death Action
                   (Individual Plaintiffs Against Doe & Officer Defendants)

       102.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       103.    Plaintiffs specifically incorporate by reference and adopt paragraphs 88 through

100 supra as if fully set forth herein.




                                                 21
            Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 22 of 54



       104.     As a direct and proximate cause of Mr. Green’s wrongful death, the Individual

Plaintiffs have suffered and will continue to suffer injuries, including but not limited to emotional

distress, pain and suffering, anxiety, and loss of companionship, comfort, protection, care,

attention, support, services, advice, counsel, training, society and/or consortium.

       105.     As such, the Individual Plaintiffs are entitled to compensatory, economic,

consequential, special, and punitive damages from Doe & Officer Defendants.

       WHEREFORE, the Individual Plaintiffs demand judgment in their favor against Doe &

Officer Defendants, jointly and severally, in a sum in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages,

attorneys’ fees pursuant to 42 U.S.C. § 1988, injunctive relief, any other such relief that this Court

deems just and proper, and further relief as the nature of the case may require.

                                            COUNT III

                  Deprivation of Constitutional Rights (Monell Claim) –
    42 U.S.C. § 1983 – Unconstitutional Policy or Custom/Failure to Train & Supervise
                                       Survival Action
                      (Estate of Renardo Green Against Defendant City)

       106.     Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       107.     Under the United States Constitution, Defendant City is obligated, among other

things, to train and supervise its emergency responder employees, officers, agents, ostensible

agents, and/or volunteers, in the constitutional parameters of restraining a subject who is

experiencing a medical emergency to ensure that the constitutional rights of citizens are not

violated.




                                                 22
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 23 of 54



       108.    At all relevant times, Defendant City, directly and through its officers and agents,

had an obligation to ensure that its emergency responder employees, police officers, agents,

ostensible agents, and/or volunteers, exercised the same degree of care that a reasonable and

prudent person would exercise in the same or similar situations they would likely encounter in the

performance of their conferred official duties with respect to the training, supervision, and

oversight of all employees, agents, and officers under its direction and control.

       109.    As identified supra, the training, supervision, and oversight required of Defendant

City to ensure respect for the constitutional rights of a person who is restrained, was inadequate,

insufficient, or nonexistent. As such, Defendant City, directly and through its employees, agents,

officers, ostensible agents, and/or volunteers, failed to exercise the requisite degree of care in the

training and supervision of Officer and Doe Defendants.

       110.    At the time of the events giving rise to this action, Defendant City had one or more

unconstitutional policies or customs that authorized or permitted face-down restraint of individuals

in custody under the same or similar circumstances as Mr. Green.

       111.    At the time of the events giving rise to this action, Defendant City had one or more

unconstitutional policies or customs that authorized or permitted failing to train, re-train, and

supervise its personnel, including APD officers and AFD paramedics and emergency response

personnel, to ensure they did not restrain individuals like Mr. Green in the face-down position.

       112.    At the time of this incident, Defendant City had no APD policy that prohibited face-

down restraint or warned officers of the dangers attendant upon face-down restraint,

notwithstanding well-publicized incidents of in-custody deaths from face-down restraint (such as

George Floyd) and the prohibition in the MIEMSS Protocols on face-down restraint due to its risk

of serious injury and death. (See paragraphs 4–5, supra.)




                                                 23
            Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 24 of 54



          113.    It was only after this incident that the APD promulgated a revised use of force

policy prohibiting the unconstitutional practice of face-down restraint. This prohibition was not in

place at the time Mr. Green was killed.14

          114.    This revised policy, promulgated in June 2022, reads, “Members shall not position

a restrained person face-down as it may cause positional asphyxia. In addition, placing persons on

their back can cause radial nerve damage to the wrist and forearm area. Restrained persons are to

be seated or placed on their side.”15

          115.    This language mirrors language in the Baltimore City Police Department’s Use of

Force Policy (Policy 1115), promulgated well over a year earlier, on November 24, 2019.16

          116.    This same language prohibiting face-down restraint is also found in the Pittsburgh

Police Department’s Use of Force Policy, promulgated nearly one year earlier than Mr. Green

died, on June 9, 2020.17

          117.    Before this incident, AFD policies did not (and have not ever) contained language

similar to that now (belatedly) found in the Police Department’s use of force policy.

          118.    On information and belief, the AFD did not train its personnel regarding avoiding

face-down restraint or promulgate a policy relevant to face-down restraint until November 1, 2022.



14
  See Use of Force Policy (March 2021), available at
https://web.archive.org/web/20211210044717/https://www.annapolis.gov/DocumentCenter/View/19269/C3--Use-
of-Force-March-2021-PDF. This outdated version of the policy is still available on the City’s website and
represented as Police Department policy. See https://www.annapolis.gov/DocumentCenter/View/19269/C3--Use-of-
Force-March-2021-PDF.
15
     See https://www.annapolis.gov/DocumentCenter/View/22007/C-03-Use-Of-Force-June-2022-PDF.
16
   See https://www.marylandattorneygeneral.gov/Pages/IID/Reports/111822_IID_Report.pdf (page 85 of 95 of pdf
file); https://public.powerdms.com/BALTIMOREMD/documents/51042.
17
  See https://cityofplattsburgh.com/sites/cityofplattsburgh.com/files/police-
department/GO%20400%20Use%20of%20Physical%20Force%20Deadly%20Physical%20Force%20(updated%206
-9-2020)_202006111145415858.pdf.



                                                     24
          Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 25 of 54



That policy (Policy 7.23, “Patient Care”) does not mention face-down restraint, but simply requires

paramedics to follow the MIEMSS Protocols, which, as discussed, prohibit face-down restraint.18

        119.     Despite having actual or constructive knowledge of the obvious need to train and

supervise its emergency responders in the restraint of a subject experiencing a medical emergency,

Defendant City took no action to remedy its deficient training. It was instead deliberately

indifferent to the rights and lives of its citizens, including Mr. Green.

        120.     It was readily foreseeable and highly predictable that failing to adequately train and

supervise Officer and Doe Defendants in the proper and reasonable restraint of a subject

experiencing a medical emergency would (and in fact did) result in the violation of Mr. Green’s

constitutional rights as alleged herein, and Defendant City was deliberately indifferent to same.

        121.     As alleged herein, the actions and omissions by Doe & Officer Defendants were

unreasonable, excessive, absent any lawful justification and/or excuse, and were a direct result of

Defendant City’s failure to adequately train, re-train, supervise, and oversee its employees and/or

its police officers to deal with the same. Defendant City’s failure to properly train, re-train, oversee,

and supervise, its employees and/or its police officers was tantamount to deliberate indifference to

the constitutional rights of Mr. Green and all its citizen constituents.

        122.     As a direct and proximate result of Defendant City’s deliberately indifferent actions

and omissions identified herein, including its unconstitutional policies or customs of permitting

face-down restraint and not training its personnel to avoid face-down restraint, Mr. Green sustained

injuries, including, but not limited to, fright, mental anguish, humiliation, disgrace, loss of dignity,




18
  See Policy 7.23, Patient Care, available at https://www.annapolis.gov/DocumentCenter/View/16634/723-Patient-
Care-Response-and-Transportation-PDF.



                                                      25
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 26 of 54



conscious pain and suffering, and physical injury, which ultimately caused his wrongful death. Mr.

Green’s life and liberty were deprived summarily without due process of law.

       123.    Defendant City’s unconstitutional policies, customs, acts, and omissions subjected

Mr. Green to these deprivations of his rights with deliberate indifference, resulting in his injuries

and wrongful death.

       124.    As a result of the injuries sustained by Mr. Green and his wrongful death, Plaintiff

Estate of Renardo Green is entitled to compensatory, consequential, and special damages from

Defendant City.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor against

Defendant City, in a sum in excess of $75,000.00 in compensatory damages, specific amount to

be determined at trial, plus costs and interest, attorneys’ fees pursuant to 42 U.S.C. § 1988,

injunctive relief, any other such relief that this Court deems just and proper, and further relief as

the nature of the case may require.

                                            COUNT IV

Deprivation of Constitutional Rights (Monell Claim) – 42 U.S.C. § 1983 – Unconstitutional
                     Policy or Custom/Failure to Train & Supervise
                                    Wrongful Death Action
                         (Individual Plaintiffs Against Defendant City)

       125.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       126.    Plaintiffs also incorporate by reference and adopt each and every allegation

contained in paragraphs 107 through 123, supra, as if fully set forth herein.

       127.    As a result of Mr. Green’s wrongful death that was directly and proximately caused

by Defendant City’s unconstitutional policies and customs, and deliberately indifferent actions

and/or omissions, the Individual Plaintiffs sustained injuries, including but not limited to economic


                                                 26
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 27 of 54



loss, mental anguish, emotional pain and suffering, anxiety, loss of society and/or consortium, loss

of companionship, loss of protection, loss of care, loss of attention, loss of advice, loss of counsel,

loss of training, loss of guidance, and loss of education.

        128.    As a result of their injuries, the Individual Plaintiffs are entitled to economic,

compensatory, consequential, and special damages from Defendant City.

        WHEREFORE, the Individual Plaintiffs demand judgment in their favor against Defendant

City, in a sum in excess of $75,000.00 in compensatory damages, specific amount to be determined

at trial, plus costs and interest, attorneys’ fees pursuant to 42 U.S.C. § 1988, injunctive relief, any

other such relief that this Court deems just and proper, and further relief as the nature of the case

may require.

                                              COUNT V

Conspiracy to Deprive Constitutional Rights and/or Failure to Intervene—42 U.S.C. § 1983
                                  and 42 U.S.C. § 1985
                                        Survival Action
                     (Estate of Renardo Green Against Doe & Officer Defendants)

        129.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

        130.    As alleged supra, Doe & Officer Defendants unlawfully and recklessly deprived

Mr. Green of his rights to life, liberty, personal security, dignity, and bodily integrity, and the right

to be free from physical abuse and excessive force at the hands of state actors, when they, inter

alia, restrained Mr. Green in a face-down position to a stretcher with his hands cuffed behind his

back, in contravention of clear and longstanding MIEMSS Protocols, established medical and law

enforcement practice, and Mr. Green’s clearly established constitutional rights.




                                                   27
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 28 of 54



          131.   As indicated in paragraphs 36–77, supra, Doe & Officer Defendants were acting

jointly in concert under color of state law when they recklessly violated Mr. Green’s constitutional

rights.

          132.   Doe & Officer Defendants, by their concerted actions, conspired, confederated, and

agreed to violate Mr. Green’s constitutional rights through their overt acts alleged herein (i.e.,

restraining and strapping Mr. Green to a stretcher in a face-down position), and these overt acts

were performed in furtherance of the conspiratorial objective.

          133.   Doe & Officer Defendants’ joint concerted overt acts caused the deprivation of Mr.

Green’s rights, as identified herein.

          134.   In the alternative, Doe & Officer Defendants, by their concerted actions, conspired

and confederated to deprive Mr. Green of his constitutional rights by acquiescing to the actions of

their coconspirators by watching them openly breach the law (i.e., by strapping Mr. Green to a

stretcher in a face-down position) while doing nothing to seek its prevention, and their actions

were objectively unreasonable, reckless, deliberately indifferent, and shock the conscience.

          135.   By their overt actions in furtherance of the conspiracy to deprive Mr. Green of his

constitutional rights or by acquiescing to their coconspirators overt unlawful acts while failing to

intervene, Doe & Officer Defendants shared the same conspiratorial objective.

          136.   By their joint and concerted overt actions in furtherance of the conspiratorial

objective and/or their acquiescence thereto, Doe & Officer Defendants are liable for the

constitutional violations committed against Mr. Green.

          137.   Doe & Officer Defendants had a duty to intervene when they observed their

coconspirators restrain Mr. Green face-down to a stretcher in direct contravention of statewide




                                                 28
          Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 29 of 54



MIEMSS Protocols, established medical and law enforcement practice, and Mr. Green’s clearly

established constitutional rights enumerated supra.

         138.   As evidenced by the fact that Doe & Officer Defendants restrained Mr. Green in a

face-down position, and strapped Mr. Green to a stretcher in a face-down position in direct

contravention of longstanding MIEMSS Protocols for at least eleven minutes, Doe & Officer

Defendants had an ample and reasonable opportunity to intervene to prevent the violation of Mr.

Green’s constitutional rights enumerated supra.

         139.   Despite their duty to intervene and despite being afforded a reasonable opportunity

to intervene, Doe & Officer Defendants, with recklessness and deliberate indifference, declined to

intervene to prevent the violation of Mr. Green’s constitutional rights enumerated supra.

         140.   Prior to June 1, 2021, Mr. Green’s constitutional rights as enumerated above were

clearly established, and any reasonable emergency responder or police officer knew or should have

known of these rights; thus, Doe & Officer Defendants are not entitled to qualified immunity.

         141.   As a direct and proximate result of the overt acts of the Doe & Officer Defendants

in furtherance of the conspiratorial objective to recklessly violate, and/or their reckless failure to

intervene to prevent the violation of, Mr. Green’s rights as described above, Mr. Green wrongfully

endured injuries, including but not limited to fright, mental anguish, humiliation, disgrace, loss of

dignity, conscious pain and suffering, and physical injury. This ultimately resulted in his wrongful

death.

         142.   Mr. Green’s life and liberty were deprived summarily without due process of law.

         143.   Defendants’ acts and omissions subjected Mr. Green to these deprivations of his

rights with deliberate indifference, resulting in his injuries and wrongful death.




                                                 29
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 30 of 54



       144.    As a result of the injuries sustained by Mr. Green and his wrongful death, Plaintiff

Estate of Renardo Green is entitled to compensatory, consequential, special, and punitive damages

from Doe & Officer Defendants.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor against

Doe & Officer Defendants, in a sum in excess of $75,000.00 in compensatory damages, specific

amount to be determined at trial, plus costs and interest, punitive damages, attorneys’ fees pursuant

to 42 U.S.C. § 1988, injunctive relief, any other such relief that this Court deems just and proper,

and further relief as the nature of the case may require.

                                            COUNT VI

Conspiracy to Deprive Constitutional Rights and/or Failure to Intervene—42 U.S.C. § 1983
                                  and 42 U.S.C. § 1985
                                   Wrongful Death Action
                    (Estate of Renardo Green Against Doe & Officer Defendants)

       145.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       146.    Plaintiffs also incorporate by reference and adopt each and every allegation

contained in paragraphs 130–143 above as if fully set forth herein.

       147.    As a direct and proximate result of Doe & Officer Defendants’ overt acts in

furtherance of the conspiratorial objective to recklessly violate and/or their failure to intervene to

prevent the violation of Mr. Green’s rights, which caused his unlawful killing, the Individual

Plaintiffs sustained pecuniary loss, mental anguish, emotional pain and suffering, loss of society

and/or consortium, loss of companionship, loss of protection, loss of care, loss of attention, loss of

advice, loss of counsel, loss of training, loss of guidance, and loss of education.




                                                 30
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 31 of 54



       148.    The Individual Plaintiffs were and will continue to be severely and irreparably

damaged both physically and psychologically, and Mr. Green is dead. As a result, the Individual

Plaintiffs are entitled to compensatory, consequential, special, and punitive damages.

       WHEREFORE, the Individual Plaintiffs demand judgment in their favor against Doe &

Officer Defendants, jointly and severally, in a sum in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages,

attorneys’ fees pursuant to 42 U.S.C. § 1988, injunctive relief, any other such relief that this Court

deems just and proper, and further relief as the nature of the case may require.

                                            COUNT VII

Deprivation of Constitutional Rights – Deliberate Indifference to Serious Medical Needs –
42 U.S.C. § 1983 – Violation of Right to Due Process Pursuant to U.S. Const. Amend. XIV

                                        Survival Action
                       (Estate of Renardo Green Against All Defendants)

       149.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       150.    The Fourteenth Amendment to the United States Constitution protects the right to

be free from any deprivation of life, liberty, or property, without due process of law, at the hands

of state actors, and the rights to personal security, liberty, dignity, and bodily integrity. These

rights were clearly established prior to June 1, 2021, and any reasonable police officer or

emergency responder knew or should have known of these rights as of that date.

       151.    Section 1983 protects individuals from violations of rights protected by the

United States Constitution or laws of the United States that were committed by persons acting

under color of state authority.




                                                  31
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 32 of 54



       152.    At all relevant times, Mr. Green was put and kept in custody in a condition of

helpless peril and in a psychiatrically disabled state.

       153.    Each Defendant had a duty to take reasonable steps to provide for Mr. Green’s

physical health and safety, including his access to appropriate medical care and treatment.

       154.    Each Defendant had a duty to ensure that each and every other Defendant was not

deliberately indifferent to Mr. Green’s serious medical needs when they knew or should have

known of those needs.

       155.    Doe Defendants and Defendant City had a duty to provide timely and adequate

medical care to Mr. Green, who suffered at all relevant times from a serious medical condition

known to all Defendants.

       156.    Officer Defendants treated Mr. Green as a combative criminal suspect instead of

treating him as a person requiring immediate medical care. Officer Defendants immobilized Mr.

Green on the ground, face-down, and placed his arms behind his back with two sets of handcuffs

and restrained his legs with shackles. Officer Bodmer then provided Doe Defendants with a

strap, which was used to restrain Mr. Green to a stretcher, and Sergeant Cochran provided Doe

Defendants with an additional set of handcuffs, even after Mr. Green was already restrained in a

face-down position.

       157.    Officer Defendants were deliberately indifferent to Mr. Green’s life and safety

when they caused Mr. Green to be restrained in a face-down position and then failed to prevent

and intervene when AFD Defendants transferred and then restrained Mr. Green in a face-down

position to a stretcher for an extended period despite known long-standing protocols prohibiting

such restraint because of its dangerous and deadly consequences, and despite obvious signs of

distress from Mr. Green.




                                                  32
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 33 of 54



       158.    As reflected by the times documented in the Officer Defendants’ reports, Mr.

Green had already been moved to a face-down position by 2:34 AM, when he was transferred to

the stretcher, and remained restrained in that face-down position for seven (7) additional

minutes, until 2:41 AM, when a paramedic reportedly turned his head. Mr. Green then remained

face-down for another four (4) minutes, from 2:41 to 2:45 AM.

       159.    Officer Defendants were on scene the entirety of the eleven (11) minutes that Mr.

Green was immobilized in a face-down position.

       160.    Officer Woytko observed Mr. Green strapped down onto a stretcher in a face-

down position with handcuffs behind his back but did not intervene to prevent Doe Defendants

from strapping Mr. Green down, or intervene while Mr. Green remained in that position, despite

the known danger to Mr. Green’s life and safety.

       161.    Officer Siminyuk observed Mr. Green strapped down onto a stretcher in a face-

down position with handcuffs behind his back but did not intervene to prevent Doe Defendants

from strapping Mr. Green down or intervene while Mr. Green remained in that position despite

the known danger to Mr. Green’s life and safety.

       162.    Officer Bodmer helped Doe Defendants transfer Mr. Green in a face-down

position to a stretcher and handed Doe Defendants a strap, which Officer Bodmer observed Doe

Defendants use to fasten Mr. Green to the stretcher while he lay face-down with handcuffs

behind his back. Officer Bodner, however, did not intervene to prevent Doe Defendants from

strapping Mr. Green down or intervene while Mr. Green remained in that position despite the

known danger to Mr. Green’s life and safety.

       163.    Sergeant Cochran observed Mr. Green being strapped down onto a stretcher in a

face-down position with handcuffs behind his back but did not intervene to prevent Doe




                                                33
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 34 of 54



Defendants from strapping Mr. Green down or intervene while Mr. Green remained in that

position. Sergeant Cochran merely handed Doe Defendants an additional set of handcuffs while

Mr. Green was immobilized face-down on the stretcher despite the known danger to Mr. Green’s

life and safety.

        164.       Officer Defendants disregarded Mr. Green’s incapacitated psychiatric and

emotional state by handcuffing his wrists behind his back and shackling his ankles, and then

assisting or failing to intervene when Mr. Green was restrained in a face-down position on a

stretcher. Under these circumstances, the prolonged and extended use of maximum physical

restraint combined with assisting or failing to intervene when Mr. Green was placed in a deadly

face-down position on a stretcher—in contravention of established constitutional rights and

medical practice—constituted deliberate indifference to serious medical needs.

        165.       Doe Defendants disregarded Mr. Green’s incapacitated psychiatric and emotional

state and failed to treat him as a person requiring immediate medical care. Instead of providing

Mr. Green with medical assistance, Doe Defendants endangered Mr. Green’s life and safety by

leaving him handcuffed and shackled in a face-down position while they strapped him face down

onto a stretcher, placed additional handcuffs on him, and kept him in a face-down position for

eleven (11) minutes. Under these circumstances, the prolonged and extended use of maximum

physical restraint, combined with adding additional restraints to Mr. Green after he was already

face-down and immobilized, constituted deliberate indifference to a serious medical need.

        166.       The deliberate indifference of Officer and Doe Defendants to Mr. Green’s serious

medical needs shocks the conscience and shows knowledge of the risk of harm and intent to act

in a manner that foreseeably and substantially increased the risk of serious harm and death.




                                                  34
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 35 of 54



       167.    Officer and Doe Defendants’ deliberate indifference to Mr. Green’s serious

medical needs directly and proximately caused Mr. Green extreme conscious pain and suffering

and severe physical injury and were a direct and proximate cause of Mr. Green’s wrongful death.

       168.    Defendants knowingly disregarded the real risk of serious injury to Mr. Green and

were recklessly, callously, and deliberately indifferent to his constitutional rights.

       169.    Defendants’ deliberate indifference to Mr. Green’s serious medical needs flowed

from the Defendant City’s unconstitutional customs or polices to permit face-down restraint and

to not train officers and first responders to studiously avoid face-down restraint of individuals in

the same or similar circumstances as Mr. Green, as noted above.

       170.    As a direct and proximate result of Doe & Officer Defendants overt actions in

furtherance of the conspiratorial objective to recklessly violate, and/or their reckless failure to

intervene to prevent the violation of, Mr. Green’s rights as described supra, Mr. Green wrongfully

endured injuries, including but not limited to fright, mental anguish, humiliation, disgrace, loss of

dignity, conscious pain and suffering, and physical injury, which ultimately resulted in his

wrongful death.

       171.    Mr. Green’s life and liberty were deprived summarily without due process of law.

       172.    Defendants’ acts and omissions subjected Mr. Green to these deprivations of his

rights with deliberate indifference, resulting in his injuries and wrongful death.

       173.    As a result of the injuries sustained by Mr. Green and his wrongful death, Plaintiff

Estate of Renardo Green is entitled to compensatory, consequential, and special damages from

Defendants, as well as punitive damages from Doe & Officer Defendants.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor against

Defendants, jointly and severally, in a sum in excess of $75,000.00 in compensatory damages,




                                                  35
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 36 of 54



specific amount to be determined at trial, plus costs and interest, punitive damages against Officer

and Doe Defendants, attorneys’ fees pursuant to 42 U.S.C. § 1988, injunctive relief, any other such

relief that this Court deems just and proper, and further relief as the nature of the case may require.

                                           COUNT VIII

Deprivation of Constitutional Rights – Deliberate Indifference to Serious Medical Needs –
42 U.S.C. § 1983 – Violation of Right to Due Process Pursuant to U.S. Const. Amend. XIV

                                    Wrongful Death Action
                         (Individual Plaintiffs Against All Defendants)

       174.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       175.    Plaintiffs also incorporate by reference and adopt each and every allegation

contained in paragraphs 150–172 above as if fully set forth herein.

       176.    As a direct and proximate result of Defendants’ deliberate indifference to Mr.

Green’s serious medical needs, which caused his unlawful killing, the Individual Plaintiffs

sustained pecuniary loss, mental anguish, emotional pain and suffering, loss of society and/or

consortium, loss of companionship, loss of protection, loss of care, loss of attention, loss of advice,

loss of counsel, loss of training, loss of guidance, and loss of education.

       177.    The Individual Plaintiffs were and will continue to be severely and irreparably

damaged both physically and psychologically, and Mr. Green is dead. As a result, the Individual

Plaintiffs are entitled to compensatory, consequential, and special damages from Defendants as

well as punitive damages from Doe & Officer Defendants.

       WHEREFORE, the Individual Plaintiffs demand judgment in their favor against

Defendants, jointly and severally, in in a sum in excess of $75,000.00 in compensatory damages,

specific amount to be determined at trial, plus costs and interest, punitive damages against Officer




                                                  36
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 37 of 54



and Doe Defendants, attorneys’ fees pursuant to 42 U.S.C. § 1988, injunctive relief, any other such

relief that this Court deems just and proper, and further relief as the nature of the case may require.

                                            COUNT IX

              Maryland Declaration of Rights Article 24: Deprivation of Liberty,
                               Excessive Force & Homicide

                                         Survival Action
                  (Plaintiff Estate of Renardo Green Against All Defendants)

       178.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       179.    At all times relevant to this Complaint, Doe & Officer Defendants were acting

under color of state law as officials employed by Defendant City.

       180.    At all times relevant to this Complaint, Mr. Green had a protected civil right to

liberty, life, and due process under Maryland state law as set forth in Article 24 of the Maryland

Declaration of Rights.

       181.    By their actions enumerated supra, Doe & Officer Defendants deprived Mr. Green

of his civil rights to life, liberty, and due process and afforded Mr. Green far less process that he

was due.

       182.    Doe & Officer Defendants used excessive and unreasonable force against Mr.

Green based on the totality of the circumstances then presented when they strapped Mr. Green to

the stretcher face down.

       183.    Doe & Officer Defendants used force that was purposeful, excessive, objectively

unreasonable, absent any lawful justification or excuse, unconstitutional, and unlawful, in

restraining Mr. Green on the stretcher in a face-down position.




                                                  37
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 38 of 54



        184.   Doe & Officer Defendants engaged in purposeful acts of misconduct, including

excessive force, even though they knew that valuable and specific procedural safeguards were in

place to protect Mr. Green’s protected right to life, liberty, and due process.

        185.   No government interest or burden outweighed Mr. Green’s enumerated and/or

clearly established rights.

        186.   Doe & Officer Defendants’ conduct was without excuse or legal justification and

was improperly motivated by recklessness and deliberate indifference to the rights of Mr. Green.

Defendants intended, with excessive force and without probable cause, to cause Mr. Green to be

strapped to the stretcher in a face-down position.

        187.   Mr. Green did not have the freedom to leave during his detention and seizure.

        188.   Doe & Officer Defendants’ conduct was objectively unreasonable considering the

facts and circumstances then confronting them.

        189.   Defendant City is vicariously liable to Plaintiffs for Doe & Officer Defendants’

deprivation of Mr. Green’s rights under Article 24 of the Maryland Declaration of Rights.

        190.   Doe & Officer Defendants’ actions or omissions as described herein were

intentional, wanton, willful, and manifested blatant and reckless disregard for Mr. Green’s

constitutionally protected rights.

        191.   As a direct and proximate result of Defendants’ actions and omissions identified

herein, Mr. Green suffered injuries, including but not limited to fright, mental anguish, humiliation,

disgrace, loss of dignity, conscious pain and suffering, and wrongful death. Mr. Green’s liberty

was summarily deprived by Defendants without the judgment of his peers or by the law of the

land.




                                                 38
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 39 of 54



       192.    As a result of the injuries sustained by Mr. Green, Plaintiff Estate of Renardo Green

is entitled to compensatory, special, and punitive damages from Defendants.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor and

against Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages

against Officer and Doe Defendants, any other such relief that this Court deems just and proper,

and further relief as the nature of the case may require.

                                             COUNT X

              Maryland Declaration of Rights Article 24: Deprivation of Liberty,
                               Excessive Force & Homicide

                                    Wrongful Death Action
                         (Individual Plaintiffs Against All Defendants)

       193.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       194.    Plaintiffs also incorporate by reference and adopt each and every allegation

contained in paragraphs 179–190.

       195.    As a direct and proximate result of Defendants’ violations of Mr. Green’s rights

under Article 24 of the Maryland Declaration of Rights, which caused his unlawful killing, the

Individual Plaintiffs sustained pecuniary loss, mental anguish, emotional pain and suffering, loss

of society and/or consortium, loss of companionship, loss of protection, loss of care, loss of

attention, loss of advice, loss of counsel, loss of training, loss of guidance, and loss of education.

       196.    The Individual Plaintiffs were and will continue to be severely and irreparably

damaged both physically and psychologically, and Mr. Green is dead. As a result, the Individual

Plaintiffs are entitled to compensatory, consequential, special, and punitive damages.




                                                  39
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 40 of 54



       WHEREFORE, the Individual Plaintiffs demand judgment in their favor and against

Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory damages,

specific amount to be determined at trial, plus costs and interest, punitive damages against Officer

and Doe Defendants, any other such relief that this Court deems just and proper, and further relief

as the nature of the case may require.

                                              COUNT XI

                                         Assault and Battery

                                       Survival Action
          (Plaintiff Estate of Renardo Green Against Officer and Doe Defendants)

       197.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       198.    At all times relevant to this Complaint, Officer and Doe Defendants were acting

under color of state law as officers employed by Defendant City.

       199.    Defendants assaulted and battered Mr. Green when they unlawfully restrained Mr.

Green in a face-down position and unlawfully strapped him in a face-down position to a stretcher.

       200.    Defendant actions raised in Mr. Green’s mind an apprehension of imminent bodily

harm when they unlawfully restrained Mr. Green in a face-down position and unlawfully strapped

him in a face-down position to a stretcher.

       201.    Defendants intentionally touched Mr. Green in a harmful or offensive manner when

they strapped him in a face-down position to the stretcher. Mr. Green did not give Defendants

permission to touch him in that or any other manner.

       202.    Defendants’ conduct was without legal justification and was purposeful.

Defendants acted as Defendant City’s agents, servants, and/or employees when they assaulted and

battered Mr. Green.


                                                 40
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 41 of 54



       203.    Defendants’ conduct was committed within the scope of their employment with

Defendant City; thus, Defendant City is vicariously liable for the Doe Defendants’ and Officer

Defendants’ tortious acts and omissions with respect to Mr. Green.

       204.    As a direct and proximate result of these acts, Mr. Green sustained physical,

emotional, and mental injuries, including, but not limited to, conscious pain and suffering, mental

anguish, humiliation, disgrace, loss of dignity, and loss of life.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor and

against Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages

against Officer and Doe Defendants, and any other such relief that this Court deems just and proper

and further relief as the nature of the case may require.

                                            COUNT XII

                                        Assault and Battery

                                    Wrongful Death Action
                         (Individual Plaintiffs Against All Defendants)

       205.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       206.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 198–203 above.

       207.    As a direct and proximate result of Defendants’ assault and battery against Mr.

Green, which caused his unlawful killing, the Individual Plaintiffs sustained pecuniary loss, mental

anguish, emotional pain and suffering, loss of society and/or consortium, loss of companionship,

loss of protection, loss of care, loss of attention, loss of advice, loss of counsel, loss of training,

loss of guidance, and loss of education.


                                                  41
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 42 of 54



       208.    The Individual Plaintiffs were and will continue to be severely and irreparably

damaged both physically and psychologically, and Mr. Green is dead. As a result, the Individual

Plaintiffs are entitled to compensatory, consequential, special, and punitive damages.

       WHEREFORE, the Individual Plaintiffs demand judgment in their favor and against

Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory damages,

specific amount to be determined at trial, plus costs and interest, punitive damages, any other such

relief that this Court deems just and proper, and further relief as the nature of the case may require.

                                           COUNT XIII

                                             Negligence

                                        Survival Action
                       (Estate of Renardo Green Against All Defendants)

       209.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       210.    At all times relevant to this Complaint Defendants were acting under color of state

law.

       211.    Defendants undertook and otherwise owed Mr. Green a duty to exercise due care

to avoid causing foreseeable physical or mental injuries to him.

       212.    Defendants breached their duty to Mr. Green by their actions and inactions noted

throughout this Complaint, including those enumerated in paragraphs 1–86, supra.

       213.    Defendants’ negligence proximately caused the injuries that Mr. Green sustained.

All of Mr. Green’s injuries were caused solely by the negligence of Defendants without any

contributory negligence by Mr. Green.




                                                  42
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 43 of 54



        214.    As a result of these acts, Mr. Green sustained physical, emotional, and mental

injuries, including, but not limited to, conscious pain and suffering, mental anguish, humiliation,

disgrace, loss of dignity, and loss of life.

        WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor and

against Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages

against Doe and Officer Defendants, any other such relief that this Court deems just and proper,

and further relief as the nature of the case may require.

                                               COUNT XIV

                                               Negligence

                                     Wrongful Death Action
                          (Individual Plaintiffs Against All Defendants)

        215.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

        216.    Plaintiffs also incorporate by reference and adopt each and every allegation

contained in paragraphs 210–213 above as if fully set forth herein.

        217.    As a direct and proximate result of Defendants’ negligence with respect to Mr.

Green, which caused his unlawful killing, the Individual Plaintiffs sustained pecuniary loss, mental

anguish, emotional pain and suffering, loss of society and/or consortium, loss of companionship,

loss of protection, loss of care, loss of attention, loss of advice, loss of counsel, loss of training,

loss of guidance, and loss of education.

        218.    The Individual Plaintiffs were and will continue to be severely and irreparably

damaged both physically and psychologically, and Mr. Green is dead. As a result, the Individual

Plaintiffs are entitled to compensatory, consequential, special, and punitive damages.



                                                  43
          Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 44 of 54



         WHEREFORE, the Individual Plaintiffs demand judgment in each of their favor and

against Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages

against Officer and Doe Defendants, and any other such relief that this Court deems just and proper

and further relief as the nature of the case may require.

                                           COUNT XV

                                         Gross Negligence

                                         Survival Action
                  (Plaintiff Estate of Renardo Green Against All Defendants)

         219.   Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

         220.   At all times relevant, Defendants were acting under color of state law.

         221.   By their conduct toward Mr. Green, enumerated supra, Defendants engaged in

intentional, willful, and wanton misconduct with reckless disregard for the consequences to Mr.

Green.

         222.   Defendants’ gross negligence proximately caused the injuries that Mr. Green

sustained. All of Mr. Green’s injuries were caused solely by the gross negligence of Defendants

without any contributory negligence by Mr. Green.

         223.   Defendants’ conduct was without legal justification and was improperly motivated

by a reckless disregard for the consequences to Mr. Green.

         224.   Officer and Doe Defendants’ conduct was committed within the scope of their

employment with Defendant City; thus, Defendant City is vicariously liable for their tortious

actions committed against Mr. Green.




                                                 44
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 45 of 54



        225.    As a result of these unlawful acts, Mr. Green sustained physical, emotional, and

mental injuries, including, but not limited to, conscious pain and suffering, mental anguish,

humiliation, disgrace, loss of dignity, and loss of life.

        WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor and

against Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus costs and interest, punitive damages

against Doe and Officer Defendants, any other such relief that this Court deems just and proper

and further relief as the nature of the case may require.

                                            COUNT XVI

                                          Gross Negligence

                                     Wrongful Death Action
                          (Individual Plaintiffs Against All Defendants)

        226.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

        227.    Plaintiffs also incorporate by reference and adopt each and every allegation

contained in paragraphs 220–225 above as if fully set forth herein.

        228.    As a direct and proximate result of Defendants’ gross negligence with respect to

Mr. Green, which caused his unlawful killing, the Individual Plaintiffs sustained pecuniary loss,

mental anguish, emotional pain and suffering, loss of society and/or consortium, loss of

companionship, loss of protection, loss of care, loss of attention, loss of advice, loss of counsel,

loss of training, loss of guidance, and loss of education.

        229.    The Individual Plaintiffs were and will continue to be severely and irreparably

damaged both physically and psychologically, and Mr. Green is dead. As a result, the Individual

Plaintiffs are entitled to compensatory, consequential, special, and punitive damages.


                                                  45
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 46 of 54



       WHEREFORE, the Individual Plaintiffs request that this Court enter judgment in their

favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00 in

compensatory damages, specific amount to be determined at trial, plus costs and interest, punitive

damages, any other such relief that this Court deems just and proper, and further relief as the nature

of the case may require.

                                           COUNT XVII

                    Negligent Hiring, Training, Retention, and Supervision

                                        Survival Action
                 (Plaintiff Estate of Renardo Green Against Defendant City)

       230.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       231.    At all times relevant to this Complaint, Defendants were acting under color of state

law.

       232.    Defendant City undertook or otherwise owed a duty to use reasonable care in hiring,

training, and supervising individuals competent and fit to perform the duties of a police officer and

of paramedics and other emergency services personnel employed by the AFD.

       233.    Defendant City knew or should have known that Officer and Doe Defendants

proved unfit for their assigned duties. Defendant City is obligated to adequately train and supervise

its police officers and fire department personnel in the recognition and lawful handling of incidents

involving the assistance and/or the restraint of individuals suffering from a disturbed and/or

impaired mental state.

       234.    At all relevant times, Defendant City, directly and through its officers and agents

had a duty to ensure that its officers, employees, and agents, exercised the same degree of care that

a reasonable and prudent person would exercise in the same or similar situation with respect to the


                                                 46
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 47 of 54



training, supervision, and oversight of all employees, agents, and officers under its direction and

control.

       235.    As identified supra, Officer and Doe Defendants’ used excessive force and

deprived Mr. Green of his civil rights by restraining him in a face-down position to the stretcher

against known statewide protocols, established medical and law enforcement practice, and clearly

established constitutional rights.

       236.    Defendant City knew or should have known that Officer and Doe Defendants were

incompetent to provide emergency medical services to individuals suffering from a disturbed

and/or impaired mental state at the time they encountered Mr. Green on June 1, 2021.

       237.    As identified supra, the training, supervision, and oversight required to be provided

by Defendant City to Officer and Doe Defendants regarding the assistance and/or the restraint of

individuals suffering from a disturbed and/or impaired mental state were inadequate, insufficient,

or nonexistent. Defendant City, directly and through its employees, agents, and officers, failed to

exercise the requisite degree of care in the training, supervision, and oversight of Officer and Doe

Defendants.

       238.    Defendant City knew or should have known it condoned face-down restraint—and

did not adequately train, supervise, or monitor its employees to prevent face-down restraint—all

of which posed an unreasonable risk of injury, permanent injury, and death to individuals under

the same or similar circumstances as Mr. Green.

       239.    Despite this knowledge, Defendant City took no adequate action to prevent or

remedy its failure to meet its duty of care to Mr. Green. Defendant City knew, should have known,

or was deliberately indifferent to the reasonably foreseeable, deadly consequences that its failures

would likely cause and did cause for Mr. Green.




                                                47
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 48 of 54



       240.    Defendant City knew or should have known that it was almost certain that Officer

and Doe Defendants would come into contact with individuals similar to Mr. Green who were

suffering from a disturbed and/or impaired mental state. By virtue of Defendant City’s negligent

hiring, training, retention, and supervision, the risk that Officer and Doe Defendants would violate

the constitutional rights of Mr. Green and kill him was readily foreseeable.

       241.    Defendant City failed to adequately supervise Officer and Doe Defendants and

other employees in the proper handling of incidents of assisting and/or restraining individuals

suffering from a disturbed and/or impaired mental state.

       242.    It was readily foreseeable to Defendant City that failing to properly train, supervise,

and monitor Officer and Doe Defendants in the proper handling of incidents involving the

assistance and/or the restraint of individuals suffering from a disturbed and/or impaired mental

state would, and in fact did, result in the violation of Mr. Green’s constitutional rights as alleged

herein, and Defendant City was indifferent to same.

       243.    As a direct and proximate result of Defendants’ actions and/or omissions identified

herein, Mr. Green sustained physical, emotional, and mental injuries, including, but not limited to

pain and suffering, mental anguish, humiliation, disgrace, loss of dignity, and loss of life.

       244.    Defendant City subjected Mr. Green to these deprivations of his rights with reckless

disregard for or with deliberate indifference to whether Mr. Green’s rights would be violated.

Defendant City’s actions and/or omissions as described supra directly and proximately caused Mr.

Green to be deprived of his constitutional rights and be wrongly killed.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor and

against Defendant City in an amount in excess of $75,000.00 in compensatory damages, specific




                                                 48
           Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 49 of 54



amount to be determined at trial, plus costs and interest, any other such relief that this Court deems

just and proper, and further relief as the nature of the case may require.

                                          COUNT XVIII

                    Negligent Hiring, Training, Retention, and Supervision

                                    Wrongful Death Action
                         (Individual Plaintiffs Against Defendant City)

       245.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       246.    Plaintiffs also incorporate by reference and adopt each and every allegation

contained in paragraphs 231–244 as if fully set forth herein.

       247.    As a direct and proximate result of Defendants’ negligent hiring, training, retention,

and supervision with respect to the Officer and Doe Defendants, who caused Mr. Green’s unlawful

killing, the Individual Plaintiffs sustained pecuniary loss, mental anguish, emotional pain and

suffering, loss of society and/or consortium, loss of companionship, loss of protection, loss of care,

loss of attention, loss of advice, loss of counsel, loss of training, loss of guidance, and loss of

education.

       248.    The Individual Plaintiffs were and will continue to be severely and irreparably

damaged both physically and psychologically, and Mr. Green is dead. As a result, the Individual

Plaintiffs are entitled to compensatory, consequential, and special damages.

       WHEREFORE, the Individual Plaintiffs request that this Court enter judgment in their

favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00 in

compensatory damages, specific amount to be determined at trial, plus costs and interest, any other

such relief that this Court deems just and proper, and further relief as the nature of the case may

require.


                                                 49
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 50 of 54



                                          COUNT XIX

                                       Wrongful Death
                         (Individual Plaintiffs against All Defendants)

       249.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       250.    Plaintiffs Brittany Green, Tiffany Green, Jayda Green, Phyllis McGowan, and

Tracy Naylor are primary beneficiaries in this action pursuant to Md. Code Ann., Cts. & Jud. Proc.

§ 3-904. They have brought this action within the appropriate time limits set forth in the Maryland

Wrongful Death Act.

       251.    Defendants, as a direct and proximate result of their acts and/or omissions

enumerated supra (including but not limited to those pled in in paragraphs 1 through 86),

wrongfully killed Mr. Green when they strapped him to the stretcher in a face-down position

against the MIEMSS Protocols, established medical and law enforcement practice, and Mr.

Green’s clearly established constitutional rights on June 1, 2021.

       252.    Mr. Green had done nothing to warrant the use of deadly force, and there was no

legal justification for Defendants to use such force. Defendants acted with negligence, gross

negligence, recklessness, and deliberate indifference to Mr. Green’s rights.

       253.    Each and every Defendant, individually or through their agents, servants, or

employees, was directly and proximately responsible for the homicide of Mr. Green. His death

was caused by the actions of the Defendants without any wrongdoing by Mr. Green.

       254.    In committing the foregoing acts, Defendants were acting in their official capacity

and within the scope of their employment.

       255.    As a direct and proximate result of Defendants’ actions and/or omissions, Plaintiffs

Brittany Green, Tiffany Green, Jayda Green, Phyllis McGowan, and Tracy Naylor sustained



                                                50
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 51 of 54



pecuniary loss, mental anguish, emotional pain and suffering, loss of society and/or consortium,

loss of companionship, loss of protection, loss of care, loss of attention, loss of advice, loss of

counsel, loss of training, loss of guidance, and loss of education.

       WHEREFORE, the Individual Plaintiffs demand judgment in each of their favor and

against Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus punitive damages against Officer and Doe

Defendants, costs and interest, any other such relief that this Court deems just and proper, and

further relief as the nature of the case may require.

                                            COUNT XX

                                         Survival Action
                  (Plaintiff Estate of Renardo Green Against All Defendants)

       256.    Plaintiffs incorporate by reference and adopt each and every allegation contained

in paragraphs 1 through 86 above as if fully set forth herein.

       257.    At all times relevant to the allegations herein, Defendants undertook or otherwise

owed Mr. Green a duty to use reasonable care.

       258.    By each of their acts and omissions enumerated supra, Defendants negligently

failed to meet their duty of care to Mr. Green and wrongfully killed him when they restrained him

on the ground in a face-down position, and strapped him to a stretcher in a face-down position,

against the MIEMSS Protocols, established medical and law enforcement practice, and Mr.

Green’s clearly established constitutional rights, on June 1, 2021.

       259.    Mr. Green had done nothing to deserve the use of deadly force, and there was no

legal justification for Defendants to use such force. Defendants acted with recklessness and

deliberate indifference to Mr. Green’s rights.




                                                 51
            Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 52 of 54



       260.     Each of the Defendants, individually or vicariously through its agents, servants, or

employees, was directly and proximately responsible for the homicide of Mr. Green, and his death

was caused by the actions of the Defendants without any wrongdoing by Mr. Green.

       261.     In committing the foregoing acts, Defendants were acting in their official capacity

and within the scope of their employment.

       262.     As a direct and proximate result of Defendants’ actions or omissions identified

herein, Mr. Green sustained injuries, including, but not limited to, fright, mental anguish,

humiliation, disgrace, loss of dignity, conscious pain and suffering; and then he died. Mr. Green’s

liberty was summarily deprived by Defendants without the judgment of his peers or by the law of

the land.

       WHEREFORE, Plaintiff Estate of Renardo Green demands judgment in its favor and

against Defendants, jointly and severally, in an amount in excess of $75,000.00 in compensatory

damages, specific amount to be determined at trial, plus punitive damages against Officer and Doe

Defendants, costs and interest, any other such relief that this Court deems just and proper, and

further relief as the nature of the case may require.

                                    REQUEST FOR RELIEF

       WHEREFORE, as to each and every count pled, Plaintiffs respectfully request that this

Court award them:

             A. Judgment in favor of each Plaintiff and against Defendants, individually and/or

                jointly and severally, finding Defendants liable to Plaintiffs;

             B. Compensatory damages in an amount of at least $75,000,000.00 (Seventy-Five

                Million Dollars);




                                                  52
        Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 53 of 54



          C. Reimbursement of all costs paid by each Plaintiff or on behalf of each Plaintiff in

             connection with the incident in an amount to be determined at trial;

          D. Costs and expenses of this case, including attorneys’ fees;

          E. Pre-judgment and post-judgment interest;

          F. Punitive damages against Officer and Doe Defendants, in an amount to be

             determined at trial;

          G. Injunctive relief, including but not limited to mandatory training and re-training of

             City personnel in the proper care of individuals under the same or similar

             circumstances as Mr. Green, to prevent what befell him from happening to other

             Annapolis residents and visitors; and

          H. Any other such relief that this Court deems just and proper, and further relief as the

             nature of the case may require.

Dated: December 13, 2022                    Respectfully submitted,

                                            By: /s/ Patrick A. Thronson
                                            Patrick A. Thronson (Bar #18906)
                                            Brenda A. Harkavy (pro hac vice to be applied for)
                                            JANET, JANET & SUGGS, LLC
                                            Executive Centre at Hooks Lane
                                            4 Reservoir Circle, Suite 200
                                            Baltimore, MD 21208
                                            Telephone: (410) 653-3200
                                            Facsimile: (410) 653-9030
                                            Email: pthronson@jjsjustice.com
                                            Email: bharkavy@jjsjustice.com
                                            Attorneys for Plaintiffs Tracy Naylor and Estate of
                                            Renardo Green

                                            /s/ Malcolm P. Ruff (with permission)
                                            William H. Murphy, Jr. (Bar # 07985)
                                            Malcolm P. Ruff (Bar # 21595)
                                            MURPHY, FALCON & MURPHY
                                            One South Street, 30th Floor
                                            Baltimore, MD 21202


                                               53
         Case 1:22-cv-03198-JRR Document 1 Filed 12/13/22 Page 54 of 54



                                             Telephone: (410) 951-8744
                                             Facsimile: (410) 539-6599
                                             Email: billy.murphy@murphyfalcon.com
                                             Email: malcolm.ruff@murphyfalcon.com
                                             Attorneys for Plaintiffs Brittany Green, Tiffany
                                             Green, Jayda Green, and Estate of Renardo Green

                                             /s/ Dwayne A. Brown (with permission)
                                             Dwayne A. Brown (Bar #04724)
                                             LAW OFFICE OF DWAYNE A. BROWN
                                             20 South Charles Street, Suite 400
                                             Baltimore, Maryland 21201
                                             Telephone: (410) 539-6855
                                             Email: dbrown@brownbonner.com
                                             Attorneys for Plaintiffs Phyllis McGowan and Estate
                                             of Renardo Green


                                 DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a trial by jury on all causes of action and issues set forth in this

Complaint that are so triable.

                                             /s/ Patrick A. Thronson
                                             Patrick A. Thronson (Bar #18906)

                                             /s/ Malcolm P. Ruff (with permission)
                                             Malcolm P. Ruff (Bar # 21595)

                                             /s/ Dwayne A. Brown (with permission)
                                             Dwayne A. Brown (Bar #04724)




                                                54
